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UNITED STATES BANKRUPTCY COURT
MlDDLE DISTRICT OF FLORIDA
JACKSONVILLE DlVlSlON

CASE NO.: 3:19-BK-164O
IN RE: MICHAEL A. COOPER
SHERHONDA l\/I. COOPER
Debtor(s)

CHAPTER 13 PLAN
A. NOTICES.

Debtor l must check one box on each line to state whether or not the Plan includes each of the
following items. If an item is checked as “Not Included”, if both boxes are checked, or if
neither box is checked, the provision Will be ineffective if set out later in the Plan.

A limit on the amount of a secured claim based on a Valuation Which Included Not lncluded
may result in a partial payment or no payment at all to the secured X
creditor See Sections C.5 (d) and (e). A separate motion Will be filed.

Avoidance of a judicial lien or nonpossessory, lncluded Not lncluded
nonpurchase money security interest under _ X

ll U.S.C §522 (i). A separate motion Will be tiled.

See section C.5(e).

Nonstandard provisions, set out in Section E. Included Not lncluded
X

NOTICE TO DEBTOR: lF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED
CREDITOR UNDER SECTION 5(i) OF THIS PLAN, TO SURRENDER THE SECURED
CREDITOR’S COLLATARAL UNDER SECTION 5(]'), OR TO NOT MAKE PAYMENTS TO
THE SECURED CREDITOR UNDER SECTION 5(k), THE AUTOMATIC STAY DGES NOT
APPLY AND THE CREDITOR MAY TAKE ACTION TO FORECLOSE OR REPOSSESS THE
COLLATERAL.

SECURED CREDITORS lNCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS
AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY
lNTEREST lN PERSONAL OR REAL PROPERTY COLLATERAL

 

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B. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of lO% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to the Trustee
for the period of 6_0 months. lf the Trustee does not ietain the full l()%, any portion not 1etained
Will be disbursed to allowed claims 1eceiving payment undei the Plan and may cause an increased
dist11but10n to the unsecu1ed class of ciedito1s:

l. $ 2,536.17 from months 1 through 60
2. $ from months through
3. $ from months through

 

‘ All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
individuals
C. PR()POSED DISTRIBUTIONS.

l. ADMINISTRATIVE ATT()RNEY’S FEES.

Base Fee $ 3 500 Total Paid Prepetition $ __(_)___ Balance Due $ 3500

 

MMl\/I Fee $ Total Paid Prepetition $ Balance Due $

Estimated Monitoring Fee: $-25- /month

Attomey’s Fees Payable through Plan at $_500_ Monthly (subject to adjustment) for months l
through _7_ . `

2. DOMESTIC SUPPORT OBLIGATIONS (as defined in llU.S.C. 8101 (14A).

Creditor (+ Last 4 digits Total Claim Amount
of Acct. No.)
Child Support Enforcement $1,465

3. PRIORITY CLAIMS (as defined in ll U.S.C. 8 507).

Creditor (+ Last 4 digits of Total Claim Amount

 

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of Acct No.)
IRS (5253) $3,000

4. TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confinnation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments The Trustee shall disburse adequate protection payments to secured creditors
prior to confirmation, as soon as practicable, if the Plan provides for payment to the secured
creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a proof of
claim for the secured creditor under §50l(c), and no objection to the claim is pending lf Debtor’s
payments under the Plan are timely paid, payments to secured creditors under the Plan shall be
deemed contractually paid on time.

(a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
Retain/Mortgage, HOA and Condo Association payments and arrears, if any, paid through
the Plan. lf the Plan provides for curing prepetition airearages on a mortgage on Debtor’s principal
residence, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
monthly post-petition mortgage payments to the Trustee as part of the Plan. These mortgage
payments, which may be adjusted up or down as provided for under the loan documents, are due
beginning the first due date after the case is filed and continuing each month thereafter. The
Trustee shall pay the post-petition mortgage payments for Debtor’s principal residence on the
following mortgage claims: Under ll U.S.C § l328(a)(l), Debtor will not receive a discharge of
personal liability on these claims.

Creditor (+Last 4 Digits Collateral Regular Monthly Arrears
of Acct No.) Address Payment
Nationstar Mortgage 689 Islamorada Dr N $ l,l 67 $ 17,000

(b) Claims Secured by other Real Property which Debtor Intends to Retain/Mortgage
Payments, HOA and Condo Association payments and arrears, if any, paid through the Plan.
lf the Plan provides to cure prepetition arrearages on a moitgage, Debtor will pay, in addition to all
other sums due under the proposed Plan, all regular monthly post-petition mortgage payments to the
Trustee as pait of the Plan. These mortgage payments, which may be adjusted up or down as
provided for under the loan documents, are due beginning the first due date after the case is filed
and continuing each month thereafter. The Trustee shall pay the post-petition mortgage payments
on the following mortgage claims. Under ll U.S.C § 1328(a)(l), Debtor will not receive a

 

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discharge of personal liability on these claims.

Creditor (+Last 4 Digits Collateral Regular Arrears
Of Acct. No.) Address Monthly
Payment

(c) Claims Secured by Real Property/Debtor Intends to Seek Mortgage
Modification. If Debtor obtains a modification of the mortgage, the modified payments shall be
paid through the Plan. Pending the resolution of a mortgage modification request, Debtor shall
make the following adequate protection payments to the Trustee: (l) for homestead property, the
lesser of 3l% of gross monthly income of Debtor and non-filing spouse, if any (after deducting
homeowners association fees), or the normal monthly contractual mortgage payment; or (2) for
non-liomestead, income-producing property, 75% of the gross rental income generated from the
property. Debtor will not receive a discharge of personal liability on these claims.

Creditor (+Last Collateral Address Adequate Protection
4 l)igits of Acct No.) Payment

(d) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES (strip doWn). Under ll U.S.C. § l322(b)(2), this provision does not apply
to a claim secured solely by Debtor’s principal residence A separate motion to determine
secured status or to value the collateral must be filed. The secured portion of the claim,
estimated below, shall be paid. Unless otherwise stated in Section E, the payment through the Plan
does not include payments for escrowed property taxes or insurance

Creditor (+Last 4 Digits Collateral Claim Value Payment Interest Rate
Of Acct. No.) Description/ Amount Through
Address Plan

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
§506. Debtor must flle a separate motion under § 522 to avoid a judicial lien or a nonpossessory,
nonpurchase money security interest because it impairs an exemption or under § 506 to determine
secured status and to strip a lien.

Creditor (+Last Collateral Description/ Address
4 Digits of Acct No.)

(f) Claims Secured by Real Property and/or Personal Property to Which Section

 

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506 Valuation DOES NOT APPLY Under The Final Paragraph in 11 U.S.C. § 1325(a). The
claims listed below were either: (l) incurred within 910 days before the petition date and secured by
a purchase money security interest in a motor vehicle acquired for the personal use of Debtor; or (2)
incurred within one year of the petition date and secured by a purchase money security interest in
any other thing of value. These claims will be paid in full under the Plan with interest at the rate
stated below.

Creditor (+Last 4 Digits Collateral Claim Payment Interest Rate
Of Acct. No.) Description/ Amount Through

Address Plan
Vystar Credit Union 2015 Lexus $34,061 $ 590.55 (1-7) 7%
(9403) RX 350 $ 685.53 (8-60)

(g) Claims Secured by Real or Personal Property to be Paid with Interest Through
the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full under
the Plan with interest at the rate stated below.

Creditor (+Last 4 Digits Collateral Claim Payment Interest Rate
Of Acct No.) Description/ Amount Through
Address Plan

(h) Claims Secured by Personal Property- Maintaining Regular Payments and
Curing Arrearage, if any, with All Payments in Plan. Debtor will not receive a discharge of
personal liability on these claims.

Creditor (+Last 4 Digits Collateral Regular Arrearage
Of Acct No.) Description Contractual
Payment

(i) Secured Claims Paid Directly by Debtor. The following secured claims are being
made via automatic debit/draft from Debtor’s depositoiy account and are to continue to be paid
directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic
stay is terminated in rem as to Debtor and in rem and in personam as to any co-debtor as to these
creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or
abrogate Debtor’s state law contract rights. Debtor will not receive a discharge of personal liability
on these claims

Creditor (+Last 4 Digits Property/Collateral
Of Acct No.)

 

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(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender
the following collateral/pi'opeity. The automatic stay under ll U.S.C. Sections 362(a) and l$Ol(a)
is terminated in rem as to Debtor and in rem and in personam as to any co-debtor as to these
creditors upon the filing of this Plan.

Creditor (+Last 4 Digits Collateral/Property
0f Acct No.) Description/Address

(k) Secured Claims that Debtor Does Not Intend to Pay. Debtor does not intend to
make payments to the following secured creditors The automatic stay is terminated in rem as to
Debtor and in rem and in personam as to any co-debtor with respect to these creditors upon the
filing of this Plan. Debtor’s state law contract rights and defenses are neither terminated nor
abrogated Debtor will not receive a discharge of personal liability on these claims.

Creditor (+Last 4 Digits Collateral
Of Acct No.) Description/Address

6. LEASES/EXECUTORY CONTRACTS. As and for adequate protection, the Tiustee
shall dispurse payments to creditors under leases or executoiy contracts prior to confirmation, as
soon as practicable, if the Plan provides for payment to creditor/lessor, the creditor/ lessor has filed a
proof of claim or Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under §
501(c), and no objection to the claim is pending lf Debtor’s payments under the Plan are timely
paid, payments to creditors/lessors under the Plan shall be deemed contractually paid on time.

(a) Assumption of Leases/Executory Contracts for Real or Personal Property to be
Paid and Arrearages Cured Through the Plan. Debtor assumes the following leases/executory
contracts and proposes the prompt cure of any prepetition arrearage as follows. If the claim of the
lessor/creditor is not paid in full through the Plan, under ll U.S.C § 1328(a)(l), Debtor will not
receive a discharge of personal liability on these claims.

Creditor/Lessor Description of Regular Arrearage and
(+Last 4 digits Leased Property Contractual Proposed
Of Acct No.) Payment Cure

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to be
Paid Directly by the Debtor. Debtor assumes the following lease/executory contract claims that
are paid via automatic debit/draft from Debtor’s depository account and are to continue to be paid

 

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directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic
stay is terminated in rem as to Debtor and in rem and in personam as to any co-debtor as to these
creditors and lessors upon the filing of this Plan. Nothing herein is intended to teiminate or
abrogate Debtor’s state law contract rights Debtor will not receive a discharge of personal liability
on these claims.

Creditor/Lessor Property/Collateral
(+ Last 4 Digits
Of Acct No.)

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal
Leased Property. Debtor rejects the following leases/executory contracts and will surrender the
following leased real or personal propeity. The automatic stay is teiminated in rem as to Debtor
and in rem and in personam as to any co-debtor as to these creditors and lessors upon the filing of
this Plan. '

Creditor/Lessor v Property/Collateral
(+ Last 4 Digits to be Surrendered
of Acct No.)

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed
claims shall receive a pro rata share of the balance of any funds remaining after payments to the
above referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $ 0

D. GENERAL PLAN PROVISIONS:

l. Secured creditors, whether or not dealt with under the Plan, shall retain the liens
securing such claims.

2. Payinents made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
Court.

3. lf Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
or dismissal of this case, unless the Cou1t orders otherwise Property of the estate

(a) shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Couit orders otherwise; or

 

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(b) X_ shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief and/or the proofs of claim as filed and allowed. Unless otherwise ordered by
the Couit, the T1ustee shall only pay creditors with filed and allowed proofs of
claims. An allowed proof of claim will control, unless the Couit orders otherwise

5. The Debtor may attach a summary or spreadsheet to provide an estimate of
anticipated distributions The actual distributions may vary. lf the summary of
spreadsheet conflicts with this Plan, the provisions of the Plan control prior to
confirmation, after which time the Order Confirming Plan shall control.

6. Debtor shall timely file all tax retums and make all tax payments and deposits when
due '(However, if Debtor is not required to file tax returns, Debtor shall provide
Trustee with a statement to that effect.) For each tax return that becomes due after
the case is filed, Debtor shall provide a complete copy of the tax return, including
business returns if Debtor owns a business, together with all related W-Zs and Form
10993, to the Trustee within 14 day of filing the return. Unless otherwise ordered,
consented to by the Trustee, or ordered by the court, Debtor shall turn over to the
Trustee all tax refunds in addition to regular Plan payments Debtor shall not
instruct the lnternal Revenue Service or other taxing agency to apply a refund to the
following year’s tax liability. Debtor shall not spend any refund without first
having obtained the Trustee’s consent or court approval.

E. NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set out in this
section are deemed void and are stricken.

Child Support Arrears to be paid: $0 months 1-7, $27.65 months 8-60.

IRS to be paid: $0 months 1-7, $56.61 months 8-60.

Nationstar Mtg Arrears to be paid: $0 months 1-7, $320.76 months 8-6().

 

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CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 plan are
identical to those contained in the model Plan adopted by this Court, and that this plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

Higginbotham Law Firm
Attorneys for Debtor(s)

:><” 1"`>
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Florida Bar #01 19203
925 Forest Street
Jacksonville, FL 32204
Phone: (904) 354-6604
FAX: (904) 354-6606

 

 

 

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Debtor (By D. C. Higginbiitham/ `

Trent D. Higginbotham as Attorney in Fact)

” ;-- awasz DATED; 7~ 3041
Debtor (By 1) C. Higginb;%ham/

Trent D Higginbotham as Attorney in Fact)

 

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POWER OF ATTORNEX
FOR F]LING AND SIGN]NG CHAPTER 13 PLANS

l, M\`cl/UL€/i CO”@[§}U’ . and 5 l/\€f`MO\/wi-"~ (:91>{3-"~/ , hereby name
and appoint my attorneys, D.C. Higginbotham and Trent D. Higginbotham or either of them,
whose business address is 925 Forest St., lacksonville, FL 32204 to be rny lawful Attorney-ln-

F act to act for me and sign and nle plans, amended plans and modified plans for my Chapter 13
case.

 

 

 

 

 

  

Signature d Signame
jr /) /.,1 f j r,,/\

 

STATE OF FLORIDA

COUNTYOF i §§Avcxi
Before rne the undersigned authority, personally appeared fig fe l/\v~&i Cov&~£ ,

and §L\fi\<»v~af,vt w who being first duly sworn, depose(s) and say(s) that
he/she/they is the person/people named in the foregoing lPower of Attoniey; lie/she/they has/have
read the same, know(s) the contents thereof and the same are true and correct

sWoRN TO'AND sUBsoRiBED before me this
Z*`Sdayof dtmh ,zm

by § »»:

NOTARY PU`BLIC, State of Flo rida

 

 

 

  
  
   

 
 

TRENT HlGGlNHOTHAM
Notary Publr'c - State of Florlda
Commission t GG 101962
’ y Cornm. Expires May 7, 2021
.,,....~ 5 ` Bonded though Nationel Nclary Assr‘. ":

My Coinini'ssion Expires:

  
 

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